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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

                                                                 Case: 2:20−cr−20245
UNITED STATES OF AMERICA,                             CRIMINAL NO.
                                                                 Assigned To : Goldsmith, Mark A.
                                                                 Referral Judge: Stafford, Elizabeth
                           Plaintiff,                 HON.       A.
                                                                 Assign. Date : 6/16/2020
                                                                 Description: INFO USA v.
v.                                                    VIOLATION:
                                                                 DUMOUCHELLE (SO)

D-1 Joseph Gregory Dumouchelle,                       18 U.S.C. § 1343 – Wire Fraud

                           Defendant.
                                                  /

                                  INFORMATION

The United States Attorney charges:

                           GENERAL ALLEGATIONS

At all times relevant to this Information:

1.     Joseph Gregory Dumouchelle (D-1) (Dumouchelle), of Birmingham,

       Michigan and was the owner of “Joseph DuMouchelle Fine and Estate

       Jewelry Buyers, Sellers, Appraisers and Auctioneers, LLC. (DFE).

2.     DFE did business in the State of Michigan and elsewhere.

3.     T.R. was a resident of North Dakota and Arizona and was a client of

       Dumouchelle and DFE.




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4.     The “Yellow Rose Diamond” (Yellow Rose) was the nickname given to a

       ring containing a 77.12 carat primary diamond which was variously valued at

       between $12,000,000 and $18,000,000.

5.     RD was a business owner and consultant whose name and contact information

       was used by Dumouchelle to trick TR into sending Dumouchelle money.

6.     Bank of America was a financial institution doing business in the State of

       Michigan and throughout the United States.

7.     Dumouchelle was a Bank of America customer holding an account ending in

       0585.

                                     COUNT ONE
                              (18 U.S.C. § 1343, Wire Fraud)

       D-1 Joseph Gregory Dumouchelle

       The general allegations are included in this count.

8.     From in or about February 2019 through in or about May 2019, Joseph

       Gregory Dumouchelle devised and executed a scheme to obtain money by

       means of false and fraudulent material pretenses, representations and

       promises.




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9.     In late 2018, TR contacted Dumouchelle attempting to collect a $430,000

       debt Dumouchelle owed him.

10. In an effort convince TR that the debt would be paid, Dumouchelle offered

       TR an investment opportunity which Dumouchelle promised would more than

       pay back his debt.

11.      Dumouchelle told TR he had an opportunity to buy the Yellow Rose and

       would be able to sell it for much more than he paid for it. Dumouchelle

       promised that if TR helped him buy the Yellow Rose, Dumouchelle would

       sell it to a buyer represented by RD and would split the profits 70/30 with TR.

       It was TR’s understanding that RD represented the seller of the diamond for

       this transaction.

                                   The Scheme

12. Dumochelle, with intent to obtain money by means of false and fraudulent

       material promises and representations instructed TR to wire transfer

       $12,000,000 for the purchase of the Yellow Rose. TR agreed to the terms, but

       insisted that the money be transferred to the seller’s account, not to

       Dumochelle’s account.

13. With intent to obtain TR’s money by means of false and fraudulent material

       promises, pretenses and representations, Dumouchelle falsified documents


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     and emails making it appear that the account the money would be wired to

     was in fact the seller’s.

14. Also with intent to obtain money by means of false and fraudulent material

     promises and representations, Dumouchelle sent the false information to TR

     with directions to wire the money to the account with a notation that it was for

     the benefit of the seller represented by RD.

15. In fact, the wire transfer directions Dumouchelle sent TR were for

     Dumouchelle’s Bank of America account ending in 0585 and at that time

     there was no actual buyer for the Yellow Rose.

16. Convinced that Dumouchelle was telling the truth, on February 6, 2019 TR

     wired $12,000,000 to Dumouchelle’s DFE account.

17. After receiving the funds and in an effort to lull TR into believing the

     purchase of the Yellow Rose was legitimate Dumouchelle sent TR a

     fraudulent receipt making it appear that the Yellow Rose had been purchased.

18. The balance in Dumochelle’s Bank of America account before TR’s

     $12,000,000 was deposited was $500. Immediately after the deposit and with

     intent to obtain money by means of false and fraudulent material promises

     and representations Dumouchelle withdrew the majority of the money and

     used it to pay his personal and business debts and expenses.


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19.    On or about February 6, 2019, in the Eastern District of Michigan, Southern

       Division, Dumouchelle, with intent to obtain money by means of false and

       fraudulent material promises and representations and for the purpose of

       executing the scheme transmitted and caused the transmission of wire

       communications in interstate commerce in the form of an interstate wire

       transfer of funds in the amount of $12,000,000 from TR’s bank account in

       Chandler, Arizona Dumouchelle’s Bank of America account in Bloomfield

       Hills, Michigan.

20. All in violation of Title 18, United States Code, Sections 1343.

                        FORFEITURE ALLEGATIONS
                    18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461

21. The above allegations contained in this Information are incorporated by

      reference as if set forth fully herein for the purpose of alleging forfeiture

      pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C) with 28 U.S.C. § 2461.

22. As a result of the violations of 18 U.S.C. §1343, as set forth in this

      Information, Defendants shall forfeit to the United States any property, real or

      personal, that constitutes or is derived from proceeds traceable to the

      commission of such violations, pursuant to 18 U.S.C. § 981 with 28 U.S.C. §

      2461.



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23. Money Judgment: Such property includes, but is not limited to, forfeiture

     money judgments in an amount to be proved in this matter, representing the

     total amount of proceeds and/or gross proceeds obtained as a result of the

     Defendant’s violations, as alleged in this Information.

24. Substitute Assets: If the property described above as being subject to

     forfeiture, as a result of any act or omission of the Defendant:

          a. Cannot be located upon the exercise of due diligence;

          b. Has been transferred or sold to, or deposited with, a third party;

          c. Has been placed beyond the jurisdiction of the Court;

          d. Has been substantially diminished in value; or

          e. Has been commingled with other property that cannot be subdivided

             without difficulty;

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p) as incorporated




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by 18 U.S.C. § 982(b), to seek to forfeit any other property of the Defendant up to

the value of the forfeitable property described above.




MATTHER SCHNEIDER
United States Attorney

s/John K. Neal
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Chief, White Collar Crime Unit
Assistant United States Attorney


s/Karen L. Reynolds
KAREN L. REYNOLDS
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s/Shankar Ramamurthy
SHANKAR RAMAMURTHY
Assistant United States Attorney




Date: June 16, 2020




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